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                        UNITED STATES DISTRICT COURT
                        DISTRICT COURT OF MINNESOTA

IN RE PORK ANTITRUST                          Case No. 18-cv-01776 (JRT-HB)
LITIGATION
                                              MEMORANDUM OF POINTS
                                              AND AUTHORITIES IN
This Document Relates To:                     SUPPORT OF MOTION FOR
                                              PRELIMINARY APPROVAL OF
THE DIRECT PURCHASER                          THE CLASS ACTION
PLAINTIFF ACTION                              SETTLEMENT BETWEEN
                                              DIRECT PURCHASER
                                              PLAINTIFFS AND DEFENDANT
                                              JBS




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I.         INTRODUCTION

           The Direct Purchaser Plaintiffs (“DPPs”) in this antitrust class action respectfully

move the Court to preliminarily approve a proposed settlement of their claims against

Defendant JBS.1 While this is the first “ice-breaker” settlement in this litigation, it provides

the Settlement Class with significant and substantial relief. Pursuant to the Settlement

Agreement, JBS will pay $24,500,000 in monetary relief and will provide material

cooperation to DPPs. As discussed in this memorandum, the Settlement Agreement is the

product of protracted arm’s-length settlement negotiations with the assistance of an

experienced and nationally-renowned mediator, provides substantial monetary and non-

monetary relief to the DPP Settlement Class, and should be granted preliminary approval

because it falls well within the range of possible approval. The DPPs further request that

the Court certify the proposed Settlement Class for settlement purposes, approve the

proposed plan for disseminating notice to the class, and set a schedule for the Final Fairness

Hearing of the Settlement. At the Final Fairness Hearing, Interim Co-Lead Class Counsel

will request entry of a final order and judgment dismissing JBS and retaining jurisdiction

for the implementation and enforcement of the Settlement Agreement.

II.        LITIGATION BACKGROUND

           This case represents the consolidation of multiple putative class actions and direct

purchaser actions alleging a conspiracy to fix, raise and stabilize the price of Pork in the


      1
     Unless otherwise noted, all capitalized terms shall have the same meaning as in the
Settlement Agreement (also referred to herein as “Settlement”), which is filed concurrently
herewith as Exhibit A, to the Declaration of W. Joseph Bruckner (“Bruckner Decl.”).


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United States. There are three categories of class action plaintiffs in this litigation, all of

whom allege that they purchased Pork2 products in the United States: DPPs, Consumer

Indirect Purchaser Plaintiffs, and Commercial and Institutional Indirect Purchaser

Plaintiffs.

           DPPs allege that Defendants3 conspired to restrain production and fix the price of

Pork in the United States in violation of the Sherman Act, 15 U.S.C. § 1. DPPs allege that

the Pork industry has significant market concentration: between 1988 and 2015, the top

four Pork integrators (Smithfield, Tyson, JBS, and Hormel) increased their market share

from 34 percent in 1988 to just under 70 percent by 2015. See DPP Third Consolidated and




    2
     As used herein, “Pork” means porcine or swine products processed, produced or sold
by JBS, or by any of the Defendants or their co-conspirators, including but not limited to:
primals (including but not limited to loin s, shoulders, picnics, butts, ribs, bellies, hams, or
legs), trim or sub-primal products (including but not limited to backloins, tenderloins,
backribs, boneless loins, boneless sirloins, riblets, chefs prime, prime ribs, brisket, skirt,
cushion, ground meats, sirloin tip roast, or hocks), further processed and value added
porcine products (including, but not limited to bacon, sausage, lunch meats, further
processed ham, or jerky products), offal or variety products (including, but not limited to
hearts, tongues, livers, head products, spleens, kidneys, feet, stomach, bladder, uterus,
snoot, ears, tail, brisket bone, intestines, jowls, neck bones or other bones, skin, lungs,
glands, hair, or pet food ingredients), rendered product and byproducts (including, but not
limited to, lard, grease, meat meal, bone meal, blood meal , or blood plasma), casings
(including, but not limited to, mucosa), and carcasses. See Settlement Agreement ¶ 1.l.
    3
     As defined in the Settlement Agreement, “Defendants” means JBS USA Food
Company, JBS USA Food Company Holdings, Clemens Food Group, LLC, The Clemens
Family Corporation, Hormel Foods Corporation and Hormel Foods, LLC, Indiana Packers
Corporation, Mitsubishi Corporation (Americas), Seaboard Foods LLC, Seaboard
Corporation, Smithfield Foods, Inc., Triumph Foods, LLC, Tyson Foods, Inc. Tyson
Prepared Foods, Inc., Tyson Fresh Meats, Inc., and Agri Stats, Inc. See Settlement
Agreement ¶ 1.e.


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Amended Complaint (“TCAC” or “Complaint”) (ECF No. 431) ¶ 84. DPPs allege that this

includes JBS’s acquisition of Cargill’s Pork business in 2015, which resulted in JBS

moving from the fourth largest producer to the second largest producer at the time. Id. ¶

85.

           DPPs allege that any single Defendant acting independently lacked sufficient

market power to restrain production and increase prices. TCAC ¶¶ 89-90. However, DPPs

allege that beginning no later than 2009 Defendants began sharing competitively sensitive

and confidential information with each other through Agri Stats, a data sharing service. Id.

¶¶ 2-4, 35-66. DPPs allege that by participating in Agri Stats, vertically integrated Pork

producers shared confidential information concerning production levels, short and long-

term production capacity, costs, profits, and sales. Id. While data in the reports purports to

be anonymous, many are organized by company and facility with “such detailed figures

covering every aspect of Pork production and sales that producers can accurately identify

the companies behind the metrics,” using, for example “unique but recurring data points.”

Id. ¶ 60. DPPs allege that, through their coordinated conduct, Defendants collectively had

sufficient market power to control supply and increase profits. Id. ¶¶ 82-95. DPPs allege

that Defendants’ collusion achieved its intended result; after years of increasing production

prior to the onset of the conspiracy, the Pork industry cut production in a coordinated

fashion and, as Defendants intended, an unprecedented upswing in prices followed. Id. ¶¶

119-180.

           The DPP class action lawsuit was filed on June 29, 2018 and consolidated before

Chief Judge John R. Tunheim in this Court. Thereafter, the Court appointed the


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undersigned as Interim Co-Lead Class Counsel for the DPPs. ECF No. 149. Defendants

moved to dismiss all Plaintiffs’ complaints. In August 2019, the Court granted their

motions and granted Plaintiffs leave to amend. ECF No. 360. DPPs amended their

complaint, and on October 16, 2020, the Court largely denied Defendants’ motions to

dismiss. ECF No. 519, amended October 20, 2020, ECF No. 520.

           Unlike many other civil antitrust actions, this case was developed and brought

without the benefit of a formal antitrust investigation by the U.S. Department of Justice or

the assistance of a leniency applicant under the Department of Justice’s Corporate

Leniency Program. See Corporate Leniency Policy, U.S. Dep’t of Justice,

https://www.justice.gov/atr/corporate-leniency-policy. Since the initial complaint was

filed, DPPs have continued their factual investigation into the conspiracy alleged in their

complaint, and since the Court has largely denied Defendants’ motions to dismiss

Plaintiffs’ complaints, DPPs are pressing to set the parameters for discovery.

           As part of their ongoing prosecution, Interim Co-Lead Class Counsel negotiated the

ice-breaker Settlement with JBS, the terms of which are detailed in this brief and the

supporting documents.

III.       THE PROPOSED SETTLEMENT MEETS THE STANDARDS FOR
           PRELIMINARY APPROVAL

           Parties proposing to settle a class action must seek approval of the settlement from

the court. Fed. R. Civ. P. 23(e). Federal Rule of Civil Procedure (“Rule”) 23(e)

contemplates a sequential process for courts evaluating class action settlements. At this

preliminary approval stage, the court determines whether the settlement is within the range



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of possible approval and whether class members should be notified of the terms of the

proposed settlement. White v. Nat’l Football League, 822 F. Supp. 1389, 1399 (D. Minn.

1993); 2 Newberg on Class Actions, § 11.24 (3d ed. 1992) (“The first step in district court

review of a class action settlement is a preliminary, pre-notification hearing to determine

whether the proposed settlement is ‘within the range of possible approval.’”). Generally,

before directing notice to the class members, a court makes a preliminary evaluation of the

proposed class action settlement pursuant to Rule 23(e). See Manual For Complex

Litigation, (Fourth) § 21.632 (2004).

           If the court preliminarily approves the settlement and authorizes notice to the class,

and once the class has had the opportunity to consider the settlement, the court must decide

whether to grant final approval of the settlement as “fair, reasonable and adequate.” Fed.

R. Civ. P. 23(e); see also, e.g., Grunin v. Int’l House of Pancakes, 513 F.2d 114, 123 (8th

Cir. 1975). The court has broad discretion in evaluating a class action settlement. Van Horn

v. Trickey, 840 F.2d 604, 606-07 (8th Cir. 1988). The law strongly favors resolving

litigation through settlement, particularly in class actions. White, 822 F. Supp. at 1416

(“The policy in federal court favoring the voluntary resolution of litigation through

settlement is particularly strong in the class action context.”) (citation omitted); In re Zurn

Pex Plumbing Prods. Liab. Litig., No. 08-MDL-1958, 2012 WL 5055810, *6 (D. Minn.

Oct. 18, 2012).

           It is respectfully submitted that the proposed Settlement Agreement between DPPs

and JBS satisfies the preliminary approval standard and should be approved by the Court.




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           A.     The Proposed Settlement Is the Result of Arm’s-Length Negotiations

           “The court is entitled to rely on the judgment of experienced counsel in its

evaluation of the merits of a class action settlement.” In re Employee Benefit Plans Sec.

Litig., No. 3-92-708, 1993 WL330595, *5 (D. Minn. June 2, 1993) (citation omitted); see

also Welsch v. Gardenbring, 667 F. Supp. 1284, 1295 (D. Minn. 1987) (affording “great

weight” to opinions of experienced counsel). Courts attach “[a]n initial presumption of

fairness . . . to a class settlement reached in arm’s-length negotiations between experienced

and capable counsel after meaningful discovery.” Grier v. Chase Manhattan Auto Fin. Co.,

No. A.99-180, 2000 WL175126, at *5 (E.D. Pa. Feb. 16, 2000); see also Grunin, 513 F.2d

at 123; White v. Nat’l Football League, 836 F. Supp. 1458, 1476-77 (D. Minn. 1993).

           Indeed, courts consistently find that the terms of a settlement are appropriate where

the parties, represented by experienced counsel, have engaged in extensive negotiation at

an appropriate stage in the litigation and can properly evaluate the strengths and

weaknesses of the case and the propriety of the settlement. See, e.g., In re Emp. Benefit

Plans Sec. Litig., 1993 WL 330595, at *5 (noting that “intensive and contentious

negotiations likely result in meritorious settlements . . . .”); In re Zurn Pex Plumbing Prods.

Liab. Litig., No. 08-MDL-1958, 2013 WL 716088, at *6 (D. Minn. Feb. 27, 2013)

(observing that “[s]ettlement agreements are presumptively valid, particularly where a

‘settlement has been negotiated at arm’s-length, discovery is sufficient, [and] the settlement

proponents are experienced in similar matters . . . .’”) (citation omitted). When, as here,

experienced counsel represent the parties, and rigorous negotiations were conducted at

arms’ length (in this instance with the assistance of a nationally recognized mediator), the


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judgment of the litigants and their counsel concerning the adequacy of the Settlement

should be considered. See Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1149 (8th Cir. 1999);

DeBoer v. Mellon Mortg. Co., 64 F.3d 1171, 1178 (8th Cir. 1995).

           Here, the parties have had ample opportunity to assess the merits of DPPs’ claims

and JBS’s defenses, through investigation, research, settlement discussions and contested

motion practice; and to balance the value of Settlement Class members’ claims against the

substantial risks and expense of continuing litigation. The proposed settlement comes after

extensive arm’s-length negotiations between the parties. See Bruckner Decl. ¶¶ 6-9. These

discussions commenced prior to the Court’s ruling on Defendants’ initial motion to

dismiss, at which time counsel for JBS and DPPs met in person to discuss a possible

resolution. Id. ¶ 6. The parties were unable to reach an agreement at that time and continued

litigating the case, including briefing and arguments relating to Defendants’ motions to

dismiss. Id. The Court granted JBS’s initial motion to dismiss (ECF No. 360), which

resulted in DPPs filing the TCAC, and a second round of motions to dismiss by Defendants.

Before the Court denied JBS’s second motion to dismiss on October 16, 2020 (ECF Nos.

519, 520), JBS and DPPs recommenced discussions and negotiated in good faith over a

two-week period, but did not reach an agreement. Id. ¶ 7. After the Court denied JBS’s

second motion to dismiss, the parties continued their settlement negotiations, this time with

the assistance of an experienced and nationally-renowned mediator, Professor Eric Green

of Resolutions, LLC. The parties and Professor Green held a full day remote mediation on

October 28, 2020. Id. While the parties made substantial progress during the mediation,

they did not reach agreement on all material settlement terms. Id. Over the next few days


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the parties continued negotiating, with the assistance of Professor Green, and signed a

binding settlement term sheet on November 3, 2020. Id. Thereafter, the parties negotiated

the terms of and finalized a long form Settlement Agreement, which was executed on

November 17, 2020. Id.

           In sum, the Settlement Agreement: (1) is the result of extensive good faith

negotiations between knowledgeable and skilled counsel; (2) was entered into after

extensive factual investigation and legal analysis; and (3) in the opinion of experienced

class counsel, is fair, reasonable, and adequate. Based on both the monetary and

cooperation elements of the Settlement Agreement, Interim Co-Lead Class Counsel

believes the Settlement Agreement is in the best interests of the Settlement Class members

and should be approved by the Court. Id. ¶¶ 6-10; see also Declaration of Bobby Pouya

(“Pouya Decl.”) ¶¶ 3-7.

           B.    The Settlement Provides Significant Relief to the Settlement Class and
                 Should be Preliminarily Approved by the Court

           The Settlement Agreement with JBS provides substantial relief to the Settlement

Class in terms of monetary relief and cooperation. Under the terms of the Settlement

Agreement, within 14 days of the Court’s preliminary approval of the Settlement, JBS will

pay $24,500,000 into the Settlement Fund, which shall be deposited into an interest-bearing

escrow account. See Settlement Agreement ¶ 9. The Settlement Fund will be used to

compensate the Settlement Class for the damages suffered, and expenses incurred,

including attorneys’ fees, litigation expenses, and the costs of notice. Id. ¶¶ 9, 12. At this

time, Plaintiffs and their counsel are not seeking any attorneys’ fees, non-administration



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expenses, or incentive awards from the Settlement proceeds. However, they may do so in

the future, and will file a motion with the Court at an appropriate time.4

           In addition to the payment of money, the Settlement requires JBS to provide

specified cooperation in the DPPs’ continued prosecution of the action against the

remaining Defendants. The terms of this cooperation are set forth in a confidential letter

agreement, which will be provided to the Court for in camera review upon request. See

Settlement Agreement ¶ 10. The cooperation aspect of the settlement is significant, because

pursuant to the Sherman Act, the remaining Defendants are jointly and severally liable for

any damages resulting from JBS’s Pork sales to DPPs during the Class Period. See Texas

Indus., Inc. v. Radcliff Materials, Inc., 451 U.S. 630, 646 (1981); Paper Sys. Inc. v. Nippon

Paper Indus. Co., 281 F.3d 629, 633 (7th Cir. 2002). Thus, this cooperation will assist

Plaintiffs in recovering the maximum amount of their damages against the remaining

Defendants in the case.

           In consideration for these settlement benefits, DPPs and the proposed Settlement

Class agree to release certain Released Claims (as defined in the Settlement Agreement)

against JBS Released Parties (as defined in the Settlement Agreement). See Settlement

Agreement ¶ 9, 14. The release does not extend to any other Defendants or co-conspirators,

or unrelated claims for breach of contract, any negligence, personal injury, bailment, failure



    4
      As set forth in the proposed Settlement Class notice documents and the Settlement
Agreement at ¶ 6.b, DPPs may withdraw up to $500,000 of the Settlement Fund, subject
to the Court’s approval, to pay for actual costs of notice and for Preliminary Approval and
Final Approval of this Settlement Agreement.


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to deliver lost goods, damaged or delayed goods, product defect, or securities claims. Id.

At 14.5

           In sum, this Settlement with JBS provides substantial monetary and non-monetary

relief to the Settlement Class and falls well within the range of possible approval. For these

reasons, the Court should grant preliminary approval to the Settlement Agreement and

authorize notice to the Settlement Class. See White v. Nat’l Football League, 822 F. Supp.

1389, 1399 (D. Minn. 1993); 2 Newberg on Class Actions § 11.24.

IV.        THE COURT SHOULD CERTIFY THE PROPOSED SETTLEMENT
           CLASS

           At the preliminary approval stage, the Court must also determine whether to certify

the proposed Settlement Class for settlement purposes under Rule 23. See, e.g., Amchem

Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997). Certification of a settlement class must

satisfy each requirement set forth in Rule 23(a), as well as at least one of the separate

provisions of Rule 23(b). Id. at 613-14; see also In re Monosodium Glutamate Antitrust

Litig., 205 F.R.D. 229, 231 (D. Minn. 2001) (citing Gen. Tel. Co. of Sw. v. Falcon, 457

U.S. 147, 161 (1982)).

           Here, DPPs seek certification of a Settlement Class consisting of:

                 All persons who purchased Pork directly from any of the
                 Defendants or any co-conspirator, or their respective
                 subsidiaries or affiliates for use or delivery in the United States
                 from at least as early as January 1, 2009 until the date of the

      5
      The Settlement also provides JBS with the ability to terminate the Settlement
Agreement if potential members of the Settlement Class representing more than a specified
portion of relevant transactions—as set forth in a confidential letter agreement being filed
under seal with Court, see Bruckner Decl. Ex. C opt out of the Settlement Class. Settlement
Agreement ¶ 19.

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                 order granting Preliminary Approval of the Settlement
                 Agreement. Specifically excluded from the Settlement Class
                 are the Defendants; the officers, directors or employees of any
                 Defendant; any entity in which any Defendant has a controlling
                 interest; and any affiliate, legal representative, heir or assign of
                 any Defendant. Also excluded from this Settlement Class are
                 any federal, state, or local governmental entities, any judicial
                 officer presiding over this action and the members of his/her
                 immediate family and judicial staff, and any juror assigned to
                 this action.

Settlement Agreement ¶ 5. As detailed herein, this proposed Settlement Class meets the

requirements of Rule 23(a), as well as the requirements of Rule 23(b)(3).

           A.    The Proposed Settlement Class Satisfies the Requirements of Rule 23(a)

                 1.     The Class is Sufficiently Numerous

           Rule 23(a)(1) requires that the class be so numerous as to make joinder of its

members “impracticable.” No rigid rule of thumb has been developed in the Eighth Circuit

as to how many potential class members is sufficient to satisfy the numerosity requirement.

Gries v. Standard Ready Mix Concrete, L.L.C., 252 F.R.D 479, 484 (N.D. Iowa 2008).

However, some courts apply a rule of thumb that a class of over 40 persons is sufficiently

numerous. Richter v. Bowen, 669 F. Supp. 275, 281 n.4 (N.D. Iowa 1987) (citing 3B J.

Moore, Moore’s Fed. Procedure 23.05[1]). The proposed Settlement Class consists of

entities that purchased Pork directly from the Defendants during the Class Period. Because

Pork products are widely distributed and consumed throughout the United States, DPPs

estimate that there are thousands of Settlement Class members. Bruckner Decl. ¶ 5.




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                  2.     Questions of Law and Fact Are Common to the Settlement Class

           Rule 23(a)(2) requires that there be “questions of law or fact common to the class.”

Plaintiffs must show that resolution of an issue of fact or law “is central to the validity of

each” class member’s claim and “[e]ven a single [common] question will” satisfy the

commonality requirement. Dukes, 564 U.S. at 359. A central allegation in this case is that

Defendants illegally conspired to fix, raise, maintain and stabilize Pork prices. Proof and

defense of this alleged conspiracy will be common to all Class members. See, e.g., Blades

v. Monsanto Co., 430 F.3d 562, 566 (8th Cir. 2005) (“For a class to be certified, plaintiffs

need to demonstrate that common issues prevail as to the existence of a conspiracy and the

fact of injury.”). In addition to this overarching common question, this case is replete with

other questions of law and fact common to the Settlement Class, including but not limited

to the following: (1) whether the conduct of Defendants and their co-conspirators, as

alleged in this Complaint, caused injury to the business or property of the Plaintiffs and the

other members of the Class; (2) the effect of Defendants’ alleged conspiracy on the prices

of Pork sold in the United States during the Class Period; and (3) the appropriate measure

of any damages. Accordingly, the Settlement Class satisfies Rule 23(a)(2).

                  3.     Plaintiffs’ Claims are Typical of Those of the Settlement Class

           Rule 23(a)(3) requires that the class representatives’ claims be typical of class

members’ claims. Typicality is closely related to commonality and “a finding of one

generally compels a finding of the other.” Huyer v. Wells Fargo & Co., 295 F.R.D. 332,

349 (S.D. Iowa 2016). Typicality “is fairly easily met so long as other class members have

claims similar to the named plaintiff.” DeBoer, 64 F.3d at 1174. “Factual variations in the


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individual claims will not normally preclude class certification if the claim arises from the

same event or course of conduct as the class claims and gives rise to the same legal or

remedial theory.” Alpern v. UtiliCorp United, Inc., 84 F.3d 1525, 1540 (8th Cir. 1996).

           DPPs here allege that Defendants illegally conspired to fix, raise, maintain and

stabilize Pork prices. As alleged in the Complaint, the named Plaintiffs each alleged that

they purchased Pork directly from a Defendant or co-conspirator in the United States from

at least January 1, 2009 until the present and were overcharged and suffered an antitrust

injury as a result thereof. TCAC ¶¶ 7, 14-19, 180. The named Plaintiffs will have to prove

the same elements that other Settlement Class members would have to prove, e.g., the

existence and effect of such a conspiracy. Because the named Plaintiffs’ claims arise out

of the same alleged illegal anticompetitive conduct and are based on the same alleged

theories and will require the same types of evidence to prove those theories, the typicality

requirement of Rule 23(a)(3) is satisfied.

                  4.     Plaintiffs and Their Counsel Will Adequately Represent the
                         Interests of the Class

           Rule 23(a)(4) requires that, in order for a case to proceed as a class action, the court

must find that “the representative parties will fairly and adequately protect the interests of

the class.” The focus here is whether “(1) the class representatives have common interests

with the members of the class, and (2) whether the class representatives will vigorously

prosecute the interests of the class through qualified counsel.” Paxton v. Union Nat. Bank,

688 F.2d 552, 562-63 (8th Cir. 1982). Both requirements are satisfied in this case.




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           First, the interests of the Settlement Class members are aligned with those of the

representative Plaintiffs. Plaintiffs, like all Settlement Class members, share an overriding

interest in obtaining the largest possible monetary recovery and cooperation in their

ongoing prosecution of the case. In re Corrugated Container Antitrust Litig., 643 F.2d 195,

208 (5th Cir. 1981) (certifying settlement class and holding that “so long as all class

members are united in asserting a common right, such as achieving the maximum possible

recovery for the class, the class interests are not antagonistic for representation purposes”);

Kohen v. Pac. Inv. Mgmt. Co. LLC, 571 F.3d 672, 679 (7th Cir. 2009) (holding that

“hypothetical” conflicts of interest are not sufficient to defeat the common interest prong

of the Rule 23(a)(4)).

           Second, Plaintiffs and their counsel will also adequately represent the interest of the

Class Members. As the Court has already recognized in appointing Lockridge Grindal

Nauen P.L.L.P. and Pearson, Simon & Warshaw, LLP as Interim Co-Lead Class Counsel,

these firms and their attorneys are qualified, experienced, and thoroughly familiar with

antitrust class action litigation. See ECF Nos. 94 (Motion to Appoint Co-Lead Counsel),

149 (Order Appointing Co-Lead Counsel); see also Bruckner Decl. ¶¶ 13-14; Pouya Decl.

¶¶ 4-6. Interim Co-Lead Class Counsel have successfully litigated many significant

antitrust actions and have prosecuted and will continue to vigorously prosecute this lawsuit.

Interim Co-Lead Class Counsel have diligently represented the interests of the Class

throughout this litigation and will continue to do so in the future. Id.

           Furthermore, the named Plaintiffs have fulfilled their duties to the Class by actively

participating in the litigation including reviewing relevant pleadings and remaining


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apprised of the status of the case, preserving and collecting documents for production, and

performing their duties in discovery. Bruckner Decl. ¶ 15. They are committed to

continuing to perform these duties and representing the Settlement Class members

throughout the course of this litigation. Id.

           B.    The Proposed Settlement Class Satisfies the Requirements of Rule
                 23(b)(3)

           Once Rule 23(a)’s four prerequisites are met, Plaintiffs must show the proposed

Settlement Class satisfies Rule 23(b)(3) by showing that “questions of law or fact common

to class members predominate over any questions affecting only individual members, and

that a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.”

           “The Rule 23(b)(3) predominance inquiry tests whether proposed classes are

sufficiently cohesive to warrant adjudication by representation.” See Amchem Prods., Inc.

v. Windsor, 521 U.S. 591, 623 (1997). Predominance in direct purchaser antitrust actions

has been found where “there exists generalized evidence which proves or disproves an

element on a simultaneous, class-wide basis[.]” See In re Vitamins Antitrust Litig., 209

F.R.D. 251, 262 (D.D.C. 2002). Common questions need only predominate; they need not

be dispositive of the litigation. In re Potash Antitrust Litig., 159 F.R.D. 682, 693 (D. Minn.

1995) (“[a]s a rule of thumb, a price fixing antitrust conspiracy model is generally regarded

as well suited for class treatment”) (quoting In re Catfish Antitrust Litig., 826 F. Supp.

1019, 1039 (N.D. Miss. 1993)). In this direct purchaser antitrust conspiracy case, the

central common question of the existence of the conspiracy drives the issue of liability and



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damages as to the Settlement Class members. 4 Newberg on Class Actions § 18.28 at 102

(4th ed. 2002) (“As a rule, the allegation of a price-fixing conspiracy is sufficient to

establish predominance of common questions.”); Amchem, 521 U.S. at 625

(“Predominance is a test readily met in certain cases alleging consumer or securities fraud

or violations of the antitrust laws.”); Sullivan v. DB Invs., 667 F.3d 273, 298-301 (3d Cir.

2011) (holding predominance is met because antitrust conspiracy claims necessarily turn

on defendants’ common course of conduct and a common theory of market impact).

           Plaintiffs must also show that a class action is superior to individual actions.

Superiority is evaluated by four considerations:

                 (A) the interest of the members of the class in individually
                 controlling the prosecution or defense of separate actions; (B)
                 the extent and nature of any litigation concerning the
                 controversy already commenced by or against members of the
                 class; (C) the desirability or undesirability of concentrating the
                 litigation of the claims in the particular forum; (D) the
                 difficulties likely to be encountered in the management of the
                 class action.

Fed. R. Civ. P. 23(b)(3).

           Here, any Settlement Class member’s interest in individually controlling the

prosecution of separate claims is outweighed by the efficiency of the class mechanism.

Since thousands of Settlement Class members purchased Pork during the Class Period,

settling these claims in the context of a class action conserves both judicial and private

resources and hastens the Settlement Class members’ recovery. Finally, while DPPs see no

management difficulties in this case, this consideration is not pertinent to approving a

settlement class. Amchem, 521 U.S. at 620 (“Confronted with a request for settlement-only



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class certification, a district court need not inquire whether the case, if tried, would present

intractable management problems . . . for the proposal is that there be no trial.”).

Accordingly, the proposed class action is superior to other available methods (if any) for

the fair and efficient adjudication of the controversy relating to JBS.

V.         THE COURT SHOULD APPROVE THE PROPOSED NOTICE PLAN

           Under Rule 23(e), Class Members are entitled to reasonable notice of the proposed

Settlement. See Manual for Complex Litig. §§ 21.312, 21.631 (4th ed. 2011). For a class

proposed under Rule 23(b)(3), whether litigated or by virtue of a settlement, Rule

23(c)(2)(B) states:

                 The notice must clearly and concisely state in plain, easily
                 understood language: (i) the nature of the action; (ii) the
                 definition of the class certified; (iii) the class claims, issues, or
                 defenses; (iv) that a class member may enter an appearance
                 through an attorney if the member so desires; (v) that the court
                 will exclude from the class any member who requests
                 exclusion; (vi) the time and manner for requesting exclusion;
                 and (vii) the binding effect of a class judgment on members
                 under Rule 23(c)(3).

The form of notice is “adequate if it may be understood by the average class member.” 4

Newberg on Class Actions § 11.53 (4th ed. 2002).

           Settlement notice must be “‘reasonably calculated, under all the circumstances, to

apprise interested parties of the pendency of the action and afford them an opportunity to

present their objections.’” Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1153 (8th Cir. 1999)

(quoting Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)). Notice

need not provide “a complete source of information” or an exact amount of recovery for



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each class member. Id. (citing DeBoer v. Mellon Mortg. Co., 64 F.3d 1171, 1176 (8th Cir.

1995)). Best notice practicable means “individual notice to all members who can be

identified through reasonable effort.” Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173

(1974). Notice that is mailed to each member of a settlement class “who can be identified

through reasonable effort” constitutes reasonable notice. Eisen, 417 U.S. at 176.

Furthermore, in addition to United States mail, notice may be by electronic means, or other

appropriate means. Fed. R. Civ. P. 23(c)(2)(B). Other members may be notified by

publication. City of Greenville v. Syngenta Crop Prot., No. 3:10-CV-188, 2012 WL

1948153, at *4 (S.D. Ill. May 30, 2012).

           The proposed notice plan in this case satisfies these criteria. DPPs propose to the

Court a plan of notice that comports with due process and provides reasonable notice to

known and reasonably identifiable customers of JBS pursuant to Rule 23. The class notice

documents, consisting of the long form, email, and publication notice, comply with the

requirements of Rule 23(c)(2)(B). See Class Notice Documents, attached to the Declaration

of Eric Schachter (“Schachter Decl.”) as Exhibits B through D. The notice documents

define the Settlement Class, describe the nature of the action, summarize the class claims,

and explain the procedure for requesting exclusion from the Settlement Class and objecting

to the proposed Settlement. Id. The notice documents describe the terms of the Settlement

Agreement, and inform the Settlement Class members that there is no plan of distribution

at this time. Id. The notice documents will provide the date, time and place of the Final

Fairness Hearing (once that hearing is set by the Court), and inform Settlement Class




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Members that they do not need to enter an appearance through counsel, but may do so if

they choose. Id.

           The proposed notice plan also comports with due process and Rule 23. The plan

includes: (1) direct notice by U.S. mail and email to Class members who can be identified

by reasonable effort, including but not limited to Defendants’ customer lists; (2)

publication of the summary notice in industry-related mailed and digital media; and (3) the

posting of notice on a case website to be created. Schachter Decl. ¶¶ 6-13. Since the

Settlement Class members in this case purchased Pork directly from Defendants, DPPs

intend to obtain mailing addresses for the vast majority of Settlement Class members from

Defendants’ customer lists, and will rely to the extent practicable on direct mail and email

to Class Members who can be identified through reasonable effort. Fed. R. Civ. P.

23(c)(2)(B).

           Plaintiffs have retained A.B. Data Ltd., an experienced national class action notice

provider and claims administrator, to administer the notice plan. Schachter Decl. ¶¶ 3-4,

Ex. A. A.B. Data will mail the long form notice via first-class U.S. mail to Settlement Class

Members whose addresses can be identified with reasonable effort through Defendants’

records. Id. ¶¶ 7-8. A.B. Data will also send the email notice to all Settlement Class

Members for whom email addresses can be identified with reasonable effort in the class

list data. Id. The email notice will provide Settlement Class Members with an electronic

link to the settlement website, where they can obtain more information including the long

form notice and the Settlement Agreement. Id.




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           A.B. Data further plans to supplement the direct mail and email notice via

publication notice, to reach those remaining Settlement Class members that do not receive

direct notice of the Settlement. This will include both print and digital media components.

Schachter Decl. ¶ 10. This type of notice plan, which relies on direct notice and publication

notice, has been successfully implemented in direct purchaser class actions. See id. ¶ 15;

see also Bruckner Decl. ¶ 11, Exh. B (In re Broiler Chicken Antitrust Litig., 1:16-cv-08637

(N.D. Ill. Jan. 8, 2020) (ECF No. 3394) (Order Granting Direct Purchaser Plaintiffs’

Motion for Preliminary Approval of the Settlements with Defendants Peco Foods, Inc.,

George’s, Inc., George’s Farms, Inc., and Amick Farms, LLC)).

           A.B. Data will also host the settlement website, providing additional information

and documents, and a toll-free number for frequently asked questions and requests for

mailing of further information. Schachter Decl. ¶¶ 11-13. The website and call center will

be available in both English and Spanish.

           DPPs respectfully submit that this multifaceted, comprehensive notice plan provides

the best notice practicable under the circumstances of this case and fully satisfies Rule 23

and due process requirements. See Petrovic, 200 F.3d at 1153; DeBoer, 64 F.3d at 1176;

Schachter Decl. ¶ 15. Interim Co-Lead Class Counsel requests that the Court approve the

proposed form and manner of notice to the Settlement Class as set forth in the Notice Plan.

VI.        THE COURT SHOULD SCHEDULE A FINAL FAIRNESS HEARING

           The last step in the settlement approval process is the Final Fairness Hearing, at

which the Court may hear all evidence necessary to evaluate and determine whether to

grant final approval to the proposed Settlement. At that hearing, proponents of the


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Settlement may explain and describe their terms and conditions and offer argument in

support of the Settlement’s approval, and members of the Settlement Class or their counsel

may be heard regarding the proposed Settlement if they choose. DPPs propose the

following schedule of events necessary for disseminating notice to the Settlement Class

and the Final Fairness Hearing.

 DATE                                          EVENT
 Within 45 days after entry of the             Each Defendant to provide a customer list
 preliminary approval order                    to the Settlement Administrator including
                                               any reasonably available names, email
                                               addresses, and mailing addresses
 Within 75 days after entry of the             Settlement Administrator to provide direct
 preliminary approval order                    mail and email notice, and commence
                                               implementation of the publication notice
                                               plan
 60 days after the commencement of             Last day for Settlement Class members to
 \
 Notice                                        request exclusion from the Settlement
                                               Class; for Settlement Class members to
                                               object to the Settlement; and for Settlement
                                               Class members to file notices to appear at
                                               the Final Fairness Hearing
 7 days after last day to request exclusion    Co-Lead Counsel to provide JBS with a list
 from the Settlements                          of all persons and entities who have timely
                                               and adequately requested exclusion from
                                               the Settlement Class
 14 days before Final Settlement Fairness      Co-Lead Counsel shall file a motion for
 Hearing                                       final approval of the Settlement and all
                                               supporting papers, and Co-Lead Counsel
                                               and JBS may respond to any objections to
                                               the proposed Settlement




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 DATE                                           EVENT
 40 days after last day to request exclusion    Final Fairness Hearing6
 from the Settlement, or as soon thereafter
 as the matter may be heard by the Court

VII.       CONCLUSION

           For the aforementioned reasons, DPPs respectfully request that the Court

preliminary approve the JBS Settlement, preliminary certify the Settlement Class, approve

the
 \ proposed notice plan, and enter a schedule for the dissemination of notice to the

Settlement Class and Final Fairness Hearing for the Settlement.




    6
     Under the terms of the Settlement Agreement (¶ 23), within 10 days of the filing of
this motion for preliminary approval, JBS shall submit all materials required to be sent to
appropriate Federal and State officials pursuant to the Class Action Fairness Act of 2005,
28 U.S.C. § 1715. Under the Act, this Court may not enter an order giving final approval
of the proposed settlement earlier than 90 days after the later of the dates on which the
appropriate Federal official and the appropriate State official are served with the notice
required under 28 U.S.C. § 1715 (b). DPPs’ proposed timetable and “no sooner than” Final
Settlement Fairness Hearing date proposed above will allow ample time for the notice
required under the Act.

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 Dated: December 1, 2020

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